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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION



ALFIYA MILLS                                                              PLAINTIFF

v.                                   NO. 4:21-CV-861-BSM

JAMAR BENNETT, INDIVIDUALLY
AND IN HIS OFFICIAL CAPACITY AS
POLICE OFFICER FOR THE CITY OF BENTON                                     DEFENDANTS


                        PLAINTIFF’S PRE-TRIAL DISCLOSURES

        COMES NOW the Plaintiff, ALFIYA MILLS, by and through counsel, SUTTER &

GILLHAM, P.L.L.C., who hereby submits the following Pre-Trial Disclosures:

1. The identity of the party submitting the information.

        RESPONSE:       Plaintiff.

2. The names, addresses, and telephone numbers of all counsel for the party.

        RESPONSE:      Lucien Gillham and Luther Sutter. 1501 N. Pierce, Ste. 105, Little Rock,

AR 72207. 501-315-1910.

3. A brief summary of claims and relief sought.

        RESPONSE: Gender discrimination, retaliation, hostile work environment, termination,

ACRA 16-123-105, 107, and 108, Title VII, 42 U.S.C. 1983, FMLA, Rehab Act. Lost wages

and benefits, front pay or reinstatement, compensatory damages, reasonable fees and costs,

injunctive relief.

4. Prospects for settlement.

        RESPONSE: Plaintiff will mediate and believes settlement is possible.

5. The basis for jurisdiction and objections to jurisdiction.



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       RESPONSE: Supplemental over state claims under 1367(c), with original federal

jurisdiction over federal claims.

6. A list of pending motions

       RESPONSE: Defendant moved for summary judgment.

7. A concise summary of the facts.

       RESPONSE: Plaintiff was sexually harassed by her supervisor, Jamar Bennett, and

when she tried to stop it, he retaliated. She had to take FMLA leave for mental and emotional

suffering that led to mental health issues which were a serious health condition and disability.

She was subjected to a hostile work environment, transferred, investigated, disciplined, and fired.

8.   All proposed stipulations.

       RESPONSE:        Facts admitted in the Response to the Statement of Undisputed Facts.

9.   The issues of fact expected to be contested.

       RESPONSE: Damages and liability.

10. The issues of law expected to be contested.

       RESPONSE:        Sufficiency of evidence.

11. A list and brief description of exhibits that will be offered into evidence.

       RESPONSE:

       Expected:

A. Bates 1-168.

B. Materials in Ellis summary judgment.

C. Attachments to depositions in this case.

       May be used:

F.     Any deposition taken.




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G.      Any exhibit used in the summary judgment motion or response.

H.      Any discovery response, pleading, disclosure.

I.      Any materials identified or attached to disclosures, pleadings, or discovery responses.

12. The names, address, and telephone numbers of witnesses who will be called, excluding

witnesses to be used solely for impeachment or rebuttal.

        RESPONSE:

        Expected:

1) Plaintiff.

2) Jason Mills, Plaintiff’s ex-husband, (501)266-3968, 6 Liberty Place, White Hall, AR 71602.

3) Ed Tullos, Plaintiff’s SIU Partner, (501)580-7764. 114 South East Street, Benton, AR. Phone:

     501-580-7764.

4) Marko Medina, Plaintiff’s SIU Partner, (501)766-0358.

5) Cissy Brown, Office manager for Defendant, (501)860-8129.14 South East Street, Benton,

     AR. Phone: 501-860-8129.

6) Captain Baker, employed by Defendant, (501)416-1615.

7) Jeff Parsons, (501)574-2784. 600 Adams Vineyard, Benton, AR. Phone: 501-574-2784.

8) John V. Baka, M.D., Plaintiff’s OBGYN, Benton Women’s Clinic, 1220 Military Rd.,

     Benton, AR 72015 (501)778-1000.

9) Jared Dixon, Plaintiff’s Primary Care Physician, 1304 Military Rd., Benton, AR 72015

     (501)778-0934.

10)      Mike Juola, LPC, Saline Psychological Services, 1212 Military Rd., Benton, AR 72015

     (501)794-6557.

11)     Walker Brown.




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12)     Jamar Bennett.

13)     Scotty Hodges

14)     Carole Ellis.

15)     Gray LeMaster, Napa Valley Counseling Center.

       May:

16)    Named Defendants.

17)    Any person deposed or who provided an affidavit.

18)    Any person identified in disclosures or discovery responses of parties.

13. The current status of discovery, a precise statement of the remaining discovery and

estimate of the time required to complete discovery.

       RESPONSE:         Complete.

14. An estimate of the length of trial and suggestions for expediting disposition of

the action.

       RESPONSE:         2 days.

                                                    Respectfully submitted,

                                                    SUTTER& GILLHAM, P.L.L.C.
                                                    Attorneys at Law
                                                    1501 N. Pierce, Ste. 105
                                                    Little Rock, AR 72207
                                                    (501) 315-1910 - Office
                                                    (501) 315-1916 – Facsimile
                                                    Counsel for the Plaintiff

                                     By:    /s/ Lucien Gillham
                                            Lucien Gillham, Ark. Bar #99199




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